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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 16-20387-CIV-ALTONAGA/Louis

  JOSEPH PETER CLARKE,

         Movant,
  vs.

  UNITED STATES OF AMERICA,

        Respondent.
  _______________________________/

                                      FINAL JUDGMENT

         Pursuant to the Court’s Order [ECF No. 73], entered granting Movant’s Motion to Vacate

  Convictions and Sentence [ECF No. 67], it is

         ORDERED AND ADJUDGED that Final Judgment is entered in favor of Movant, Joseph

  Peter Clarke, and against Respondent, United States of America.

         DONE AND ORDERED in Miami, Florida, this 13th day of February, 2020.




                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
